
PER CURIAM.
This is an appeal from a judgment for battery on a law enforcement officer. The Public Defender has filed an Anders1 motion and brief requesting leave to withdraw as counsel for appellant and representing to this court that no reversible error appears. On October 8, 1980, this court gave appellant thirty (30) days within which to file a brief in his own behalf. No such brief has been filed. The court has reviewed counsel’s brief and the record herein and no reversible error appears. The motion of the Public Defender to withdraw is hereby granted and the judgment and sentence is hereby AFFIRMED.
ORFINGER, COBB, and FRANK D. UP-CHURCH, Jr., JJ., concur.

. Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

